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                                            UNITED STATES BANKRUPTCY COURT
                                           FOR THE WESTERN DISTRICT OF TEXAS
                                                     AUSTIN DIVISION


  IN RE:                                                             §                            CASE NO.          21-10630
  WC 717 N HARWOOD PROPERTY LLC                                      §

  DEBTORS(S),                                                        §                             CHAPTER 11

                                          NOTICE OF APPEARANCE AND REQUEST
                                         FOR SERVICE OF NOTICES AND PLEADINGS

    PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of:

    DALLAS COUNTY

 secured creditor(s) in the above-referenced proceedings. The undersigned hereby requests notice and copies of all motions notices,

 reports, briefs, applications, adversary proceedings, proposed orders, confirmed copies of orders, any proposed disclosure statement

 or plan of reorganization that has been filed with the court, any other documents or instruments filed in the above-referenced

 proceedings and any other matter in which notice is required pursuant to 11 U.S.C. Sec. 1109(b) and Bankruptcy Rules 2002(a) and

 (b), 3017(a), and 9013 of the Federal Rules of Bankruptcy Procedure.

    Copies should be mailed to the secured creditor(s) in care of the undersigned at the address set forth below.

                                                         Certificate of Service

I do hereby certify that on 5th day of August, 2021, a copy of the above and foregoing has been this date served electronically or

mailed to the parties listed below:

    MARK H. RALSTON                              US TRUSTEE- AU12                             WC 717 N HARWOOD PROPERTY
    FISHMAN JACKSON                              UNITED STATES TRUSTEE                        LLC
    13155 NOEL RD STE 700                        903 SAN JACINTO BLVD; SUITE 230              814 LAVACA ST
    DALLAS, TX 75240                             AUSTIN, TX 78701                             AUSTIN, TX 78701

                                                        LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
                                                        2777 N. Stemmons Freeway
                                                        Suite 1000
                                                        DALLAS, TX 75207
                                                        Telephone: (214) 880-0089
                                                        Facsimile: (469) 221-5003
                                                        Email:      dallas.bankruptcy@lgbs.com


                                                         By: /s/ Elizabeth Weller
                                                              Elizabeth Weller
                                                              SBN: 00785514 TX
